                     Medical Expert Report by Zoe Arvanitakis, MD, MS
                                Case: Amor v. Cross, et al.


OUALIFICATIONS

I am a Professor of Neurology, Vice-Chair for Research, and Section Head of Cognitive
Neurosciences, in the Department of Neurological Sciences at Rush University Medical Center.
I am also the Medical Director of the Rush Memory Clinic, at the Rush Alzheimer's Disease
Center at the Rush University Medical Center. In the field of Neurology, Rush was ranked the
#1 hospital program in the State of Illinois, and #4 nationwide, in a recent ranking of the US
News and World Report. I am an independent researcher funded by competitive grants from the
National Institutes of Health (NIH). I have published first- and senior-authored scientific papers
in high-impact medical journals, including the Journal of the American Medical Association
(JAMA), neurology journals (Annals of Neurology, Neurology, Stroke, and others), and journals
focused on dementia and related disorders (e.g., Journal of Alzheimer's Disease, and others). I
also provide clinical care at the Rush University Medical Center, educate from locally to
internationally, and serve as an administrative leader within my academic organization (e.g.,
Acting Chair and Vice-Chair roles) and nationally (e.g., standing member of NIH study section).

I obtained a Doctorate in Medicine (MD) from Ontario Canada, and completed a medical
internship and specialized in neurology (completed a residency) in Canada. I then did a
Behavioral Neurology fellowship at the Mayo Clinic in the United States. I have more than 20
years professional experience in the United States and am now a leader in the field of neurology,
and in particular in cognition (thinking), memory loss, dementia and brain aging. I have held a
continuously active medical license in the State of Illinois for 20 years. I am Board Certified in
the field of Neurology. My clinical practice, experience, research, and education have included a
strong focus in dementia and cognitive impairment. The attached Curriculum Vitae provides
more details regarding my qualifications, lists competitive NIH and other grants and sources of
funding, and more than 100 scientific publications I have authored.


DATA CONSIDERED

I have reviewed and considered the following materials, and collected additional information
(e.g., interview), in formulating my expert opinions in this case:
    • Medical records on Mr. Michael Cross over about the last 10 years, including from:
             o DuPage Medical Group (including records from the following: neurology, internal
                medicine, cardiology, endocrinology, and others)
             o Edward-Elmhurst Health system, including Edward Hospital (including
                emergency medicine and others)
             o Rush University Medical Center (cognitive neurology)
    • Brain MRI digital images dated December 11, 2019
    • My interview with Mr. Cross and his spouse on June 11, 2021
    • The transcript of the Deposition of Mr. Cross dated October 16, 2020
    • Publicly available data online, such as on official websites of the above medical centers

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                                                                   EXHIBIT 2

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STATEMENT OF OPINIONS

I hold all of the following opinions to a reasonable degree of medical certainty. Opinions related
to symptoms, clinical course of the illness, test results including from cognitive testing and brain
imaging, mechanisms of brain disease, and otherwise, are based on scientific evidence and my
professional training and experience.

   1. Condition: Mr. Cross has a neurologic disease of his brain which causes a dementia, a
      common, chronic medical condition among persons as they age whereby one loses ones'
      cognitive (thinking) abilities and develops difficulties in day to day functions.
   2. Stage: Mr. Cross is in the mild stage of his neurologic illness.
   3. Manifestations: Mr. Cross is experiencing cognitive impairment primarily in memory
      function but also in other areas of cognition, as well as changes in his mood and
      behaviors such as frustration and agitation when he can't recall things. He has functional
      decline, with difficulty in his ability to do more complex activities in day-to-day life
      ("instrumental activities of daily living") such as managing his medical conditions.
   4. Underlying mechanism and cause of illness: Mr. Cross's dementia is most likely
      attributable to at least two underlying brain changes which are both very common in
      aging and have been demonstrated in several published pathologic research studies:
      vascular disease and Alzheimer's disease. Thus, the cause of Mr. Cross's dementia is
      most likely a mixed etiology dementia. Our medical team at the Rush Alzheimer's
      Disease Center, and several other groups nationally and internationally, are leaders in
      research into the causes of dementia and cognitive impairment in aging, and we have
      published on these topics.
   5. Prognosis: As the disease progresses, Mr. Cross is expected to continue to experience
      worsening of his cognitive functions (e.g., worsening memory impairment and new
      cognitive impairments such as impairment oflanguage and other thinking abilities), and
      loss of other brain functions (such as motor function for gait and swallowing, etc.). While
      there are medical treatments, there is no cure for dementia from vascular or Alzheimer's
      disease causes, and Mr. Cross is at increased risk of death.


BASIS FOR OPINIONS

A. Interview: I interviewed Mr. Cross and his spouse together, for 75 minutes on June 11, 2021.
My observations include that he has a basic understanding of his neurologic condition, but that
he does not recognize the full extent of its impact on his health. He is aware that he has memory
loss for many years, but is not clear ifhe has a dementia or what his diagnosis is. Also, while he
can explain his medical history such as his chronic conditions (e.g., "heart failure", etc.), he
cannot provide many of the details surrounding his health. At times, he downplays his illnesses,
stating he is overall in good health (when his medical record lists many serious conditions, as
summarized below), and he omits some illnesses from his history only to acknowledge them
when reminded (e.g., the lesion on his brain scan). He often turns to his wife, to help fill in the
answers. Further, both he and his wife state that she has been needing to take over functions Mr.
Cross would have normally been able to do in the past. This is in keeping with him having


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trouble with instrumental activities of daily living. Examples include managing his day to day
life, including essential activities such as preparing the weekly medical pill box, remembering to
take the pills, remembering doctors' appointments, remembering conversations (e.g., what the
doctor said), and otherwise. Also, his history indicates impaired visuospatial abilities, such that
he may not be able to drive to even familiar places such as the pain clinic, where he had
previously been and recently needed to rely on his wife to help him navigate the car to the
location. Mr. Cross has trouble with executive function, such that he is not able to learn how to
manage his finances using the computer, and his wife had to take over the finances which he
previously did. Mr. Cross and his wife explained that his memory problem started in 2009, and
they both believe it is related to a vascular event. Mr. Cross feels his memory is better over the
last couple of years, and knows that he did better on one of his memory tests in the neurology
clinic a few years back. But, his wife observes that he is overall getting worse over the years
including more recently, and that he is relying more and more on her for daily functions. The
extent of dependence is illustrated by his wife not feeling comfortable leaving him for any
number of days without at least calling him daily to remind him to take his medications and
make sure he is doing what he needs to be doing to stay well. Further, his wife reports that his
personality has changed in the last few years, in that he is less outgoing and much more quiet,
especially in social situations. He and his wife deny there is any depression, but he experiences
frustration and verbal agitation at times, particularly when under stress, for example when he
cannot remember things he knows he would previously easily remember. His frustration and
agitation is worsened when in a challenging situation. Mr. Cross is aware that he is taking two
medications for memory since 2009, but not aware that they are indicated for Alzheimer's
disease. He is not sure they are helping his memory but may be keeping his cognition "level",
and denies any side effects. There has not been any motor problems, other than Mr. Cross's wife
reporting a bilateral hand tremor for the past two years, but she and the patient are not aware of
the cause. Mr. Cross has been under neurologic care for more than ten years, and is already
scheduled for another neurologic follow-up visit this summer. Mr. Cross's main medical concern
currently, when asked, is his lower back pain, for which he continues to receive medical
treatment.

B. Medical documentation of neurologic conditions: Mr. Cross has been evaluated for his
neurologic status many times since 2009, including on at least three occasions by two different
neurologists, and on eight occasions by a Nurse Practitioner with expertise in neurology. The
history suggests a sudden onset of memory impairment in 2009, and slow progression of his
cognitive impairment over the years. Mr. Cross has had memory complaints consistently since
2009. Clinical notes from ~any clinicians, including the primary care physician (internist) and
specialists (e.g., in neurology, cardiology, and otherwise), consistently document that Mr. Cross
has memory loss over all the years of medical records reviewed. Further, memory loss (also
reported as "amnesia") was documented across three medical institutions, including a "tertiary"
academic medical center with a cognitive neurology expert at the Rush Memory Clinic. There
has been a gradual cognitive decline. Mr. Cross was first reported to have a "dementia" in 2015,
and this diagnosis is reported across the medical records written by different treating clinicians
over the years, including in the most recent annual wellness visit by his primary care physician in
December 2020. Various medical records also report diagnoses of"Vascular Dementia" (e.g.,
note in 2016) and "Alzheimer's disease" (including in the most recent note by the primary care
physician in December 2020). Mr. Cross's dementia is reported to be in the "mild" stage. The


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records show the use of two medications for dementia for at least 10 years. Various notes refer to
cerebrovascular disease and accident, and a prior stroke or Transient Ischemic Attach (TIA),
which may be associated with memory loss and also prompted brain scans to be done (see
below). Mr. Cross also has diagnoses of a pituitary microadenoma, following a medical work-up
for elevated prolactin in late 2015, and at least two brain MRI scans (first scan in 2016, most
recent in 2019). He also has a diagnosis of essential tremor, with a hand tremor noted in a record
from 2016, 2018, and elsewhere. The neurologic examination, other than for cognition and
tremor, has been essentially nonnal over the years. In my experience, it is not uncommon at this
stage of a dementia to appear essentially nonnal physically and retain social graces, such that
persons who are not close to the patient, may not notice the cognitive deficits or realize that
something is wrong.

C. Objective medical data using cognitive assessments: There is evidence for impaired cognitive
function over at least 10 years, across the medical records available for review. Medical records
from DuPage Medical Group provide cognitive test results on the "Short Tenn Mental Status
Exam". This test was systematically administered by the same expert neurology clinician over
the years, and yields quantifiable measures of cognitive function in different cognitive areas, as
well as an overall ("total") score. Results ofrepeated testing of Mr. Cross are shown in Table 1,
and consistently demonstrate the presence of impaired cognition (low total score, most recently
28/38 in 2019), and specifically memory loss (impaired "Recall"), as well as visuospatial
impainnent ("Construction") from 2012 onward.

Table 1. Results on a cognitive test called the "Short Tenn Mental Status Exam"
 COGNITIVE DOMAIN                      2012         2014        2016      2019 lMavl   2019 (Nov)
 Orientation /8                          8            8           8            6           6
 Attention /7                            7           7            7            7           6
 Learning and Immediate Recall /4        4           4            4           4            4
 Calculation /4                          4           2            3            2           2
 Abstraction/Similarities /3             3           1            3            2           3
 Information /4                          4           4            4            4           4
 Construction /4                         3           3            2            1           3
 Recall /4                               2           0            2            2           0

 TOTAL/38                               36           29          33           29           28

Mr. Cross had more extensive neuropsychological testing at the Rush Memory Clinic in 2021,
which took approximately one hour to administer and were done under standardized conditions.
A brief, general screening test was done first (the "Montreal Cognitive Assessment"), followed
by a series of tests which are grouped into cognitive areas ("domains"). These results are
summarized in Table 2 and show impainnent, particularly of memory.

Cognitive impainnent results are particularly notable given the high educational attainment of
the patient: 16 years of formal education ( with 4 years of college).




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Table 2. Results of cognitive testing across a panel of many different cognitive tests
 COGNITIVE DOMAIN                COMPONENTS                                     RESULT

 Montreal Cognitive Assessment   Visuoconstruction/Executive                    1/5
 (overall screen)                Naming                                         3/3
                                 Attention                                      6/6
                                 Language                                       2/3
                                 Abstraction                                    2/2
                                 Delayed Recall                                 0/5
                                 Orientation                                    6/6
                                 TOTAL                                          20/30

 Orientation                     Time and place                                 Borderline impairment
 Attention                       Symbol Diidt Modality test, Stroop Test        Nonnal
 Episodic Memory                 Immediate and Delayed Paragraph Recall,        Mild impairment
                                 Word List Learning, Delayed Word List Recall
                                 and Reco1mition
 Lan2uage                        Category Fluencv, Boston Naming                Borderline imoairment
 Perception                      Line Orientation, Progressive Matrices         Nonnal



D. Objective medical data based on brain imaging: I reviewed the images and the report of the
most recent brain Magnetic Resonance Imaging (MRI), obtained on December 11, 2019 at the
Edward Elmhurst Health system. The indication for the test was reported as: "Benign neoplasm
of pituitary gland" and "Unspecified visual loss". The patient stated history indicated a "lesion
on pituitary and checking prior to medication change. Also has dementia and about a month ago
had an episode of right eye vision loss ..." The latter may indicate a TIA. In my opinion, the
brain imaging shows evidence of significant generalized cortical atrophy (shrinkage of tissues),
of a moderate degree in severity. There is also some hippocampal atrophy (area of the brain
critical for memory formation), which appears worse on the left compared to the right side.
There are white matter hyperintensities, mainly in the periventricular regions, of a mild degree,
and most indicative of vascular disease such as from hypertension and diabetes (which he has).
The report concludes that this represents "Mild chronic small vessel ischemic disease". I did not
see evidence of lacunes or brain infarction. Images were obtained with detailed visualization of
the pituitary region, and the report documents a small (5mm) fullness in the superior right aspect
of the pituitary which is heterogeneous and may represent a pituitary microadenoma.
Surrounding tissues are normal in appearance. In my opinion, the brain imaging is consistent
with changes associated with dementia, including neurodegenerative disease such as Alzheimer's
disease, as well as vascular dementia. However, I believe that the pituitary lesion is not likely to
be contributing to Mr. Cross's dementia. I was told that Mr. Cross was evaluated by an
endocrinologist for the pituitary lesion and that he is due for a follow-up. The prior brain MRI
was done in 2016 (report and images were not available for my review). I reviewed the
radiology report for a CTA head and neck done at DuPage Medical Center in 2010. The
indication was memory loss. There was no significant abnormality of the vessels, such as carotid
stenosis or otherwise, which would warrant intervention (such as an endarterectomy). Of note,
there were white matter changes suggestive of minimal chronic microvascular ischemic changes
in the periventricular regions bilaterally.



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E. Medical work-up for dementia: Mr. Cross has had a medical work up for dementia which
followed the standard of care, including cognitive evaluations, blood tests (e.g., repeated thyroid
screens), and brain scans. These tests excluded potentially treatable conditions of dementia such
as thyroid disease and other diseases.

F. Medical riskfactorsfor dementia: There is documentation of medical test results and medical
notes which indicate the presence of many vascular risk factors and diseases, which are known to
cause cognitive impairment and dementia. Mr. Cross has been diagnosed over the years with
chronic and serious vascular conditions including hypertension, hyperlipidemia, arrhythmia,
diabetes (variably controlled, with elevated Al Cs), obesity, congestive heart failure, chronic
kidney disease, aortic aneurysm, as well as stroke/TIAs and pulmonary embolism. He also has
other medical conditions which impact brain function and may lead to dementia, such as chronic
obstructive sleep apnea, which is associated with low oxygenation to the brain.

G. Histo,y ofother medical and psychological factors that may contribute to dementia: Mr.
Cross had visual impairment, which may affect his ability to process visual information. He also
uses medications for pain, which may cause drowsiness and affect cognition (e.g., currently on
tramadol, previously on gabapentin and other medications). He also experienced several
situational stressors which plausibly increased his risk for dementia. These include having a
family history of brain illness, with a father who had depression and committed suicide.
Conditions with significant psychological stress, such as post-traumatic stress disorder (PTSD),
are recognized as risk factors for dementia later in life.

H. Dementia medications: Mr. Cross is being prescribed by his medical providers, and has been
taking for more than 10 years, two Food and Drug Administration (FDA) approved drugs for
dementia due to Alzheimer's disease: rivastigmine and memantine. These data further
strengthen the confidence in the diagnosis of dementia.


EXHIBITS

I may use any of the tables or figures presented in this report, or the medical records or images
considered to explain my opinions.


PRIOR TESTIMONY

I have not conducted expert witness work in the last five years, and prior work did not involve
testimony in a deposition or trial setting. I was involved in less than a handful oflegal cases in
total in my career.


COMPENSATION

My hourly fee for expert witness work is $900 pre-deposition, and includes discussion (in video,
verbal or written format), review of records (e.g., medical records and otherwise), research (e.g.,


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of online scientific or public data), interviews, formulation of opinions, and write-up of reports.
My hourly fee is $1,500 for deposition and trial related-work. All time involved in the case,
including travel to/from a courthouse, is invoiced. My expert witness work is done during my
time off (e.g., week-ends) or vacation hours, from my duties as an employee at the Rush
University Medical Center. My Rush employer is aware ofmy work as an expert witness
including on this case, and I regularly report conflicts of interest, or potential conflicts of interest,
to my employer.


I reserve the right to supplement or amend these opinions in the event additional information or
medical records become available.



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Zoe Arvanitakis, MD, MS
Cognitive Neurologist

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